Case 2:24-md-03113-JXN-LDW Document 2-1 Filed 06/20/24 Page 1 of 9 PageID: 8




        EXHIBIT A
                          Case 2:24-md-03113-JXN-LDW Document 2-1 Filed 06/20/24 Page 2 of 9 PageID: 9
Page 1 of 8




                                                         Filed Actions Chart

                                  In re: Apple, Inc. Smartphone Antitrust Litigation – MDL 3113


                                     Case         Assigned                                   Lawyer’s Emails (From Signature
 District       Case Caption        Number         Judge        Date Filed Law Firm(s)                   Page)
 D. Minn. Kyndberg v. Apple,       MN/0:24-cv-   Judge Nancy    3/29/2024   Gustafson        dgustafson@gustafsongluek.com;
          Inc.                     01107         E. Brasel                  Gluek PLLC       dhedlund@gustafsongluek.com;
                                                                                             dnordin@gustafsongluek.com;
                                                                                             mnikolai@gustafsongluek.com;
                                                                                             mlooby@gustafsongluek.com.

  D.N.J.      Aceto v. Apple       NJ/2:24-cv-   Judge Julien   4/25/2024   Lowey            pbarile@lowey.com;
                                   05663         Xavier Neals               Dannenberg,      pdemato@lowey.com;
                                                                            P.C.             rgirnys@lowey.com;
                                                                                             vbriganti@lowey.com;
                                                                                             pstphillip@lowey.com.

  D.N.J.      Aguiar v. Apple      2:24-cv-      Judge Julien   5/22/2024   Lowey            pstphillip@lowey.com;
                                   06341         Xavier Neals               Dannenberg,      vbriganti@lowey.com;
                                                                            P.C.;            rgirnys@lowey.com;
                                                                            Bonsignore       pbarile@lowey.com;
                                                                            Trial Lawyers,   pdemato@lowey.com
                                                                            PLLC
                                                                                             rbonsignore@classactions.us;
                                                                                             melanie@classactions.us
                          Case 2:24-md-03113-JXN-LDW Document 2-1 Filed 06/20/24 Page 3 of 9 PageID: 10
Page 2 of 8


  D.N.J.      Balogh et al v. Apple   2:24-cv-      Judge Julien  5/13/2024    Seeger Weiss      cseeger@seegerweiss.com
              Inc.                    06049         Xavier Neals;              LLP
                                                    referred to
                                                    Judge Leda D.
                                                    Wettre
   D.N.J      Bove v. Apple           NJ/2:24-cv-   Judge Julien  4/29/2024    Nussbaum Law      lnussbaum@nussbaumpc.com;
                                      05727         Xavier Neals               Group, P.C.;
                                                                               Criden & Love,    lgrossman@cridenlove.com;
                                                                               P.A.;             mcriden@cridenlove.com;
                                                                               Carella, Byrne,
                                                                               Cecchi, Brody     jcecchi@carellabyrne.com.
                                                                               & Agnello,
                                                                               P.C.
  D.N.J.      Crocco v. Apple Inc.    NJ/2:24-cv-   Judge Julien   4/18/2024   Connolly Wells    gwells@cwglaw.com.
                                      05281         Xavier Neals               & Gray, LLP

  D.N.J.      Cross v. Apple, Inc.    2:24-cv-                     5/24/2024   Lowey             pstphillip@lowey.com;
                                      06411                                    Dannenberg,       vbriganti@lowey.com;
                                                                               P.C.;             rgirnys@lowey.com;
                                                                               Bonsignore        pbarile@lowey.com;
                                                                               Trial Lawyers,    pdemato@lowey.com;
                                                                               PLLC
                                                                                                 rbonsignore@classactions.us;
                                                                                                 melanie@classactions.us.

  D.N.J.      Daines et. al. v. Apple NJ/2:24-cv-   Judge Julien   4/19/2024   Spiro Harrison    amartinez@shnlegal.com;
              Inc.                    05359         Xavier Neals               & Nelson;         dharrison@shnlegal.com;
                                                                               Dapeer Law,       jspiro@shnlegal.com;
                                                                               P.A.;             jesposito@shnlegal.com;
                                                                               Seeger Weiss      Ejaso@shnlegal.com;
                                                                               LLP;              mclerkin@shnlegal.com;

                                                                                                 rachel@dapeer.com;
                          Case 2:24-md-03113-JXN-LDW Document 2-1 Filed 06/20/24 Page 4 of 9 PageID: 11
Page 3 of 8


  D.N.J.      Deluca v. Apple         2:24-cv-      Judge Julien   05/23/2024   Lowey             pstphillip@lowey.com;
                                      06381         Xavier Neals                Dannenberg,       vbriganti@lowey.com;
                                                                                P.C.;             rgirnys@lowey.com;
                                                                                Bonsignore        pbarile@lowey.com;
                                                                                Trial Lawyers,    pdemato@lowey.com
                                                                                PLLC
                                                                                                  rbonsignore@classactions.us;
                                                                                                  melanie@classactions.us

  D.N.J.      Filter v. Apple, Inc.   24-cv-6342    Judge Julien   5/22/2024    Lowey             pstphillip@lowey.com;
                                      (D.N.J.)      Xavier Neals                Dannenberg,       vbriganti@lowey.com;
                                                                                P.C.;             rgirnys@lowey.com;
                                                                                Bonsignore        pbarile@lowey.com;
                                                                                Trial Lawyers,    pdemato@lowey.com
                                                                                PLLC
                                                                                                  rbonsignore@classactions.us;
                                                                                                  melanie@classactions.us

  D.N.J.      Goldfus v. Apple Inc.   NJ/2:24-cv-   Judge         3/22/2024     Carella, Byrne,   cbartlett@carellabyrne.com;
                                      04108         Michael E.                  Cecchi, Brody     jcecchi@carellabyrne.com;
                                                    Farbiarz;                   & Agnello,
                                                    Referred to                 P.C.; Hausfeld    mhausfeld@hausfeld.com;
                                                    Judge Leda D.               LLP               mcoolidge@hausfeld.com;
                                                    Wettre                                        slafreniere@hausfeld.com;
                                                                                                  nmurphy@hausfeld.com;
                                                                                                  tdisalvo@hausfeld.com;
                                                                                                  kberan@hausfeld.com;
                                                                                                  smartin@hausfeld.com;
                                                                                                  dweick@hausfeld.com;
                                                                                                  mlehman@hausfeld.com;
                                                                                                  mjones@hausfeld.com.
                          Case 2:24-md-03113-JXN-LDW Document 2-1 Filed 06/20/24 Page 5 of 9 PageID: 12
Page 4 of 8


  D.N.J.      Hernandez v. Apple     2:24-06380    Judge Xavier   05/23/2024   Lowey             pstphillip@lowey.com;
                                                   Neals                       Dannenberg,       vbriganti@lowey.com;
                                                                               P.C.;             rgirnys@lowey.com;
                                                                               Bonsignore        pbarile@lowey.com;
                                                                               Trial Lawyers,    pdemato@lowey.com
                                                                               PLLC
                                                                                                 rbonsignore@classactions.us;
                                                                                                 melanie@classactions.us

  D.N.J.      Kurtz v. Apple Inc.    NJ/2:24-cv-   Judge Julien   3/28/2024    Lowey             pbarile@lowey.com;
                                     04355         Xavier Neals                Dannenberg,       pdemato@lowey.com;
                                                                               P.C.;             rgirnys@lowey.com;
                                                                                                 vbriganti@lowey.com;
                                                                                                 pstphillip@lowey.com.

  D.N.J.      Levine v. Apple Inc.   NJ/2:24-cv-   Judge Julien   3/27/2024    Barrack Rodos     dbacine@barrack.com;
                                     04284         Xavier Neals                and Bacine        grodos@barrack.com;
                                                                                                 wban@barrack.com;
                                                                                                 aheo@barrack.com.

  D.N.J.      Melkowski v. Apple     NJ/2:24-cv-   Judge Julien   4/11/2024    Chimicles         tnm@chimicles.com;
              Inc.                   04827         Xavier Neals                Schwartz          amk@chimicles.com.
                                                                               Kriner &
                                                                               Donaldson-
                                                                               Smith LLP
  D.N.J.      Michaelson v. Apple,   NJ/2:24-cv-   Judge Julien   4/29/2024    Kessler Topaz     jmeltzer@ktmc.com;
              Inc.                   05722         Xavier Neals                Meltzer &         tziegler@ktmc.com;
                                                                               Check, LLP;       ebarlieb@ktmc.com;
                                                                               Carella, Byrne,
                                                                               Cecchi, Brody     jcecchi@carellabyrne.com.
                                                                               & Agnello,
                                                                               P.C.
                          Case 2:24-md-03113-JXN-LDW Document 2-1 Filed 06/20/24 Page 6 of 9 PageID: 13
Page 5 of 8


  D.N.J.      Miller v. Apple Inc.    NJ/2:24-cv-   Judge Julien   5/24/24     Lowey             pstphillip@lowey.com;
                                      06427         Xavier Neals               Dannenberg,       vbriganti@lowey.com;
                                                                               P.C.;             rgirnys@lowey.com;
                                                                               Bonsignore        pbarile@lowey.com;
                                                                               Trial Lawyers,    pdemato@lowey.com;
                                                                               PLLC
                                                                                                 rbonsignore@classactions.us;
                                                                                                 melanie@classactions.us.

  D.N.J.      Moody et al v. Apple,   NJ/2:24-cv-   Judge Julien   4/4/2024    Milberg           gklinger@milberg.com;
              Inc.                    04560         Xavier Neals               Coleman
                                                                               Bryson Phillips   gstranch@stranchlaw.com;
                                                                               Grossman
                                                                               PLLC; Stranch,    ostrow@kolawyers.com;
                                                                               Jennings &        sukert@kolawyers.com;
                                                                               Garvey, PLLC;     grunfeld@kolawyers.com.
                                                                               Kopelowitz
                                                                               Ostrow
                                                                               Ferguson
                                                                               Weiselberg
                                                                               Gilbert
  D.N.J.      Mukherjee v. Apple      DNJ 2:24-cv- Judge Julien    5/14/2024   Seeger Weiss      cseeger@seegerweiss.com
                                      06131-JXN- Xavier Neals                  LLP
                                      LDW
  D.N.J.      Oraheta v. Apple        2:24-cv-                     5/24/2024   Lowey             pstphillip@lowey.com;
                                      06397                                    Dannenberg,       vbriganti@lowey.com;
                                                                               P.C.;             rgirnys@lowey.com;
                                                                               Bonsignore        pbarile@lowey.com;
                                                                               Trial Lawyers,    pdemato@lowey.com;
                                                                               PLLC
                                                                                                 rbonsignore@classactions.us;
                                                                                                 melanie@classactions.us.
                          Case 2:24-md-03113-JXN-LDW Document 2-1 Filed 06/20/24 Page 7 of 9 PageID: 14
Page 6 of 8


  D.N.J.      Rodgers v. Apple,      24-cv-6343    Judge Julien   5/22/2024   Lowey             pstphillip@lowey.com;
              Inc.                   (D.N.J.)      Xavier Neals               Dannenberg,       vbriganti@lowey.com;
                                                                              P.C.;             rgirnys@lowey.com;
                                                                              Bonsignore        pbarile@lowey.com;
                                                                              Trial Lawyers,    pdemato@lowey.com;
                                                                              PLLC
                                                                                                rbonsignore@classactions.us;
                                                                                                melanie@classactions.us.

  D.N.J.      Siano et al v. Apple   NJ/2:24-cv-   Judge Julien   4/4/2024    Robbins Geller    xanb@rgrdlaw.com;
              Inc.                   04568         Xavier Neals               Rudman &          ashingler@rgrdlaw.com;
                                                                              Dowd LLP ;        davidm@rgrdlaw.com;
                                                                              Seeger Weiss      dantullis@rgrdlaw.com;
                                                                              LLP; Robbins      mdearman@rgrdlaw.com;
                                                                              Geller Rudman     PGeller@rgrdlaw.com;
                                                                              & Dowd LLP;
                                                                                                cayers@seegerweiss.com;
                                                                                                cseeger@seegerweiss.com;
                                                                                                jscullion@seegerweiss.com.

  D.N.J.      Ultra Home Set, LLC    NJ/2:24-cv-   Judge Julien   3/26/2024   Roberts Law       mikeroberts@robertslawfirm.us;
              v. Apple Inc.          04223         Xavier Neals               Firm US, P.C.;    morganhunt-mackey@robertslawfirm.us;
                                                                              Carella, Byrne,
                                                                              Cecchi, Brody     cbartlett@carellabyrne.com;
                                                                              & Agnello,        jcecchi@carellabyrne.com.
                                                                              P.C.
  D.N.J.      Watson v. Apple Inc.   NJ/2:24-cv-   Judge Julien   4/01/2024   Boni, Zack &      jsnyder@bonizack.com;
                                     04445         Xavier Neals               Snyder LLC;       mboni@bonizack.com;
                                                                              Pogust
                                                                              Goodhead LLC      mtalbot@pogustgoodhead.com;
                                                                                                zpogust@pogustgoodhead.com;
                                                                                                jgittleman@pogustgoodhead.com.
                          Case 2:24-md-03113-JXN-LDW Document 2-1 Filed 06/20/24 Page 8 of 9 PageID: 15
Page 7 of 8


   N.D.       Chiuchiarelli et al v.   CAN/3:24-   Judge Vince    3/27/2024   Cotchett Pitre    azapala@cpmlegal.com;
   Cal.       Apple                    cv-01895    Chhabria                   & McCarthy        ecastillo@cpmlegal.com;
                                                                              LLP               elewis@cpmlegal.com;
                                                                                                gpark@cpmlegal.com;
                                                                                                jcotchett@cpmlegal.com;
                                                                                                kswope@cpmlegal.com.

   N.D.       Collins et al v. Apple   CAN/3:24-   Chief Judge,   3/22/2024   Hagens Berman     steve@hbsslaw.com;
   Cal.       Inc.                     cv-01796    USDC                       Sobol Shapiro     benh@hbsslaw.com;
                                                   Richard                    LLP;
                                                   Seeborg                    Carella, Byrne,   jcecchi@carellabyrne.com;
                                                                              Cecchi, Brody,
                                                                              & Agnello,        jfinberg@altshulerberzon.com.
                                                                              P.C.;
                                                                              Altshuler
                                                                              Berzon LLP
   N.D.       Dwyer et al. v. Apple    CAN/5:24-   Judge P.       3/25/2024   Girard Sharp      apolk@girardsharp.com;
   Cal.       Inc.                     cv-01844    Casey Pitts                LLP;              jelias@girardsharp.com;
                                                                              Carella, Byrne,   ndhawan@girardsharp.com;
                                                                              Cecchi, Brody     jcecchi@carellabyrne.com;
                                                                              & Agnello,        dsharp@girardsharp.com;
                                                                              P.C.;             jelias@girardsharp.com.

   N.D.       Herrerias et al. v.      CAN/3:24-   Judge Vince    4/12/2024   Casey, Gerry,     gmb@cglaw.com;
   Cal.       Apple Inc.               cv-02199    Chhabria                   Schenk,           jrobinson@cglaw.com;
                                                                              Francavilla,      camille@cglaw.com.
                                                                              Blatt &
                                                                              Penfield LLP;

   N.D.       Kane v. Apple Inc.       CAN/4:24-   Judge          4/12/2024   Bottini &         aarnzen@bottinilaw.com;
   Cal.                                cv-02193    Haywood S.                 Bottini, Inc.;    achang@bottinilaw.com;
                                                   Gilliam, Jr.                                 fbottini@bottinilaw.com.
                          Case 2:24-md-03113-JXN-LDW Document 2-1 Filed 06/20/24 Page 9 of 9 PageID: 16
Page 8 of 8


   N.D.       Kouyate et al v. Apple 3:24-cv-     Judge Jeffrey   05/23/2024   Keller           achase@kellerrohrback.com;
   Cal.       Inc.                   03135        S. White                     Rohrback         dloeser@kellerrohrback.com;
                                                                               L.L.P.           gcappio@kellerrohrback.com;
                                                                                                rmcdevitt@kellerrohrback.com.

   N.D.       Leonard v. Apple Inc.   CAN/3:24-   Judge James     4/10/2024    Altshuler        cjohnson@altber.com;
   Cal.                               cv-02156    Donato                       Berzon LLP       finberg@altshulerberzon.com;
                                                                                                mrubin@altber.com.

   N.D.       Miller et al v. Apple   CAN/3:24-   Judge Rita F.   4/1/2024     Kaplan Fox &     breed@kaplanfox.com;
   Cal.       Inc.                    cv-01988    Lin                          Kilsheimer       mgeorge@kaplanfox.com;
                                                                               LLP              lking@kaplanfox.com.
   N.D.       Schwartz et al v.       CAN/3:24-   Judge James     4/13/2024    Ahdoot &         cstiner@ahdootwolfson.com;
   Cal.       Apple Inc.              cv-02213    Donato                       Wolfson, PC      rahdoot@ahdootwolfson.com;
                                                                                                tmaya@ahdootwolfson.com;
                                                                                                twolfson@ahdootwolfson.com.

   N.D.       Whiteside v. Apple      CAN/3:24-   Judge Araceli   5/06/2024    Kirby         dkovel@kmllp.com;
   Cal.       Inc.                    cv-02699    Martinez-                    McInerney LLP LWands@kmllp.com;
                                                  Olguin                                     bgralewski@kmllp.com.

 N.D. Ill.    Giamanco v. Apple       1:24-cv-    Judge Robert    4/3/2024     Korein Tillery   gzelcs@koreintillery.com;
                                      02694       W. Gettleman                 LLC;             stillery@koreintillery.com;
                                                                               Mololamken       cokeefe@koreintillery.com;
                                                                               LLP              smolo@mololamken.com;
                                                                                                eposner@mololamken.com.

   W.D.       Maxa v. Apple           2:24-cv-    Judge J.        4/29/2024    Janove PLLC      Raphael@Janove.law
   P.A.                               00639       Nicholas
                                                  Ranjan
